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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH

                                   Case No.: 9:22-CV-80660-RAR


   UNITED STATES OF AMERICA;

           Plaintiff,

   v.

   PAUL J. MANAFORT, JR,

           Defendant.


                  DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF
                  TIME TO RESPOND TO THE GOVERNMENT’S COMPLAINT

         Defendant, through this unopposed Motion, respectfully requests the Court extend his time

  to Respond to the Complaint by thirty days. As good cause for the requested extension, Defendant

  states as follows:

         1.       The Motion is unopposed. This is the third extension of Defendant’s response

  deadline that Defendant has sought in this case.

         2.       Defendant’s response to the Complaint is presently due on August 10, 2022.

         3.       The Parties are engaged in settlement discussions that both sides reasonably hope

  will resolve this case. As part of these settlement discussions, information has been gathered and

  exchanged by the Parties.

         4.       Since requesting his prior extension, the Government continues to evaluate

  Defendant’s settlement proposal. Settlement of tax and FBAR matters requires layers of review

  both at the Department of Justice and the IRS, and that this process is ongoing. Defendant served




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  his settlement proposal and supporting information on or about July 12, 2022. The Government

  represents that it requires additional time to complete this evaluation.

         5.      Forcing the Parties to litigate a motion to dismiss or other threshold motions in the

  meantime will distract from and be detrimental to settlement efforts.

         WHEREFORE, Defendant respectfully requests that this Court extend his deadline to

  respond to the complaint by thirty days, until September 9, 2022.

                                LOCAL RULE 7.1(a)(3) CONFERRAL

         The undersigned has conferred with counsel for the Government and the Government does

  not oppose the relief this motion requests.

         Dated: August 8, 2022                          Respectfully submitted,

                                                        MARCUS NEIMAN RASHBAUM
                                                        & PINEIRO LLP

                                                        /s/ Derick R. Vollrath
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                                                        Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

         I certify that on August 8, 2022, I filed the foregoing document through the Court’s

  CM/ECF system which has caused service to be made upon all counsel of record in this case.

                                                                   /s/ Derick Vollrath




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